                      Case 2:18-cv-00917-PBT Document 2 Filed 03/16/18 Page 1 of 4


10   440 (Rev. 06112) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                        for the
                                                       Eastern District of Pennsylvania

                         Keino Johnson,
                                                                             )
                                                                             )
                                                                             )
                                                                             )
                             Plaintiff(s)
                                                                             )
                                                                             ).
                                  v.                                         )
                                                                                  Civil Action No. 18-917
  The Twisted Tail Inc. (d/b/a The Twisted Tail) and                         )
                     Mona LLC,                                               )
                                                                             )
                                                                             )
                            Defenclant(s)                                    )

                                                      SUMMONS IN A CIVIL ACTION

To: (Defendant'snameandaddress)             ...-rHE    -r'J,   i{     .c-;
                                            4•    -     / t.v       STcb TAIL          //JG
                                     (DBA "The -rwtskd Tail}
                                    cfo &Dro/; /\!. 1?e1· I I't , Pt-clckvt-t-
                                       50 q - 5 I l Sou.ft, ;;;. i"d S h-e-ef
                                       Ph;lc...diliphi'c-< f'.A I q/ l.f!
          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Eric Brauer, Esq.
                                 Brauer & Schapiro, LLC
                                 638 Newtown Yardley Road, Suite 28
                                 Newtown, PA i 8940
                                Tel: (215) 953-9100
                                eric@ebrauerlaw.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.
                                                                                                                 _...,
                                                                                                             ./,..   /

                                                                                    CLERK OF CO.URT,...,,, .. / '        .. ·
                                                                                                   /        /~--
Date:              03/01/2018
                           ----
                                                                                              ~---~-·-.      -
                     Case 2:18-cv-00917-PBT Document 2 Filed 03/16/18 Page 2 of 4


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 CivilActionNo. 18-917

                                                     PROOF OF SERVICE
                     (This section should not be flled with the court unless required by Fed. R. Civ. P. 4 (I))

                                                                        ~             -JNlmtL .~//Jt! ,
 was received by me on (date)               1
                                                ?/J) /; /
           This summons for (name of individual and title, if any)

                                                         I
                                                                        ·
           0 I personally served the summons on the individual at (place)
                                                                                    on (date)                           ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
         ~~~~~~~~~~~~---~




                                                   , and mailed a copy to the individual's last known address; or
                      --------
                                                                        Po La                             h /;4                  , who is
           Tti//served the summons on (name ofindividual)
                          by law to aocept.crvice of prnceos on bebalfof
                            /!J (, d:                    /1 ~f   /}/I
                                                                              11                lL./)/.
                                                                                   1~ ofo,;;;l...,,y ,-/ Jie
                                                                                                   p
                                                                                   on (date) f' 2};t?        ; or
                                                                                                                               77i]    l[_,#-c/
          0 I returned the summons unexecuted because                                                                                  ; or
                                                                        --------------------
          0 Other (specifY):




          My fees are$                            for travel and $                      for services, for a total of$           0.00


          I declare under penalty of perjury that this information is true.



Date:




                                                                                         Seagull Legal Services
                                                                                         POBox1706
                                                                                         Southampton, PA 18966

                                                                                                Server's address

Additional information regarding attempted service, etc:
                    Case 2:18-cv-00917-PBT Document 2 Filed 03/16/18 Page 3 of 4


 AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Eastern District of Pennsylvania


                         Keino Johnson,                             )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    }
                                 v.                                )
                                                                           Civil Action No. 18-917
   The Twisted Tail Inc. (d/b/a The Twisted Tail) and              )
                           Mona LLC,                               )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                  SUMMONS IN A CIVIl.. ACTION

To: (Defendant's name and address)         /}? DAJ.4- L. (_c_
                                           soq- it .5or...c.-fti   CJ.~d    Sfree.f
                                       Pfu"fcukl(Jht'c:. ~JI iC/ll/7

          A lawsuit has been filed against you.

         Within 21 days after service oftbis summons on you (not counting the day you received it)-or60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R.. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Eric Brauer, Esq.
                                       Brauer & Schapiro, LLC
                                       638 Newtown Yardley Road, Suite 2B
                                       Newtown, PA 18940
                                       Tel: (215) 953-9100
                                       eric@ebrauerlaw.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




Dme:   ~~~03_1_01_n_o_1_a~~-
                                                                                       Signa'ufofClerk or Deputy Clerk
                                                                                          j
                    Case 2:18-cv-00917-PBT Document 2 Filed 03/16/18 Page 4 of 4


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 18-917

                                                           PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name ofindividual and title, ifany)         ff/m      IA..     Li.. ~
 was received by me on (date)                :J/;,;... /; ,f
           0 I personally served the summons on the individual at (place}
                                                                                on (date)                               ; or
          ~~~~~~~~~~~~~~~~~~~-                                                               -~~~~~~~




           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          on ~                                     , and mailed a copy to the individual's last known address; or

         19'1 served the swnmons on (name ofindividual)                £r1 n     k         lf.SJz /;t1                           ,who is
           designated by law to accept service of process on behalf of {name ofo~fzatwn)                         /YJfYl/JI LL C.,
           a+         /'JClj?¥'                                                 on(date)      2k.!/Jt                  ; or

          0 I returned the summons unexecuted because

          0 Other (specify):




          My fees are$                            for travel and $
                                                                     ~~~~~
                                                                                    for services, for a total of$
                                                                                                                       ~~~·~~~
                                                                                                                               o oo

          I declare under peaalty of perjury that this information is 1rue.

                                                                              ·--x::?<J
                                                                          ~~~·····
                                                                                            Server's signature

                                                               it/tJ1td }[,Jim                  JI -
                                                                                          Printed name and title
                                                                                                                   hct'//   ht//r
                                                                                     Seagull Legal Services
                                                                                     PO Box1706
                                                                                     Southampton, PA 13966

                                                                                            Server's address

Additional information regarding attempted service, etc:
